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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES SECURITIES AND EXCHANGE )
COMMISSION,                                        )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )         Civil Action No.
                                                   )         3:15-cv-675-JBA
                                                   )
IFTIKAR AHMED                                      )
                                                   )
              Defendant, and                       )
and                                                )
                                                   )
IFTIKAR ALI AHMED SOLE PROP; I-CUBED               )
DOMAINS, LLC; SHALINI AHMED; SHALINI               )
AHMED 2014 GRANTOR RETAINED                        )
ANNUNITY TRUST; DIYA HOLDINGS LLC;                 )
DIYA REAL HOLDINGS, LLC; I.I. 1, a minor child, )
by and through his next friends IFTIKAR and        )
SHALINI AHMED, his parents; I.I. 2, a minor child, )
by and through his next friends, IFTIKAR and       )
SHALINI AHMED, his parents; I.I. 3, a minor child, )
by and through his next friends, IFTIKAR and       )
SHALINI AHMED, his parents                         )
                                                   )
              Relief Defendants.                   )
                                                   )


            [PROPOSED] ORDER DIRECTING PAYMENT OF RECEIVER’S
                       APPROVED FEES AND EXPENSES

       WHEREAS, in its Ruling Granting Receiver’s Motions for Fees [Doc. No. 1415] (the “Fee

Ruling”), this Court granted the First Interim Application for Professional Fees and Expenses

Incurred by the Receiver and His Professionals [Doc. No. 1160] (the “First Application”), subject

to a 20% holdback for the Receiver’s and Zeisler & Zeisler, P.C.’s (“Z&Z”) fees and subject to a

reduction with respect to time billed for travel, and authorized and allowed the following amounts:




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                                          Receiver Fees $        5,425.00

                                                Z&Z Fees $157,547.50

                                                Expenses $       3,307.48

                                                    (Travel)    ($2,094.75)

                           Total (After 20% Holdback) $131,348.18

       WHEREAS, in its Fee Ruling, this Court granted the Second Interim Application for

Professional Fees and Expenses Incurred by the Receiver and His Professionals [Doc. No. 1249]

(the “Second Application”), subject to a 20% holdback for the Receiver’s and Z&Z’s fees, and

authorized and allowed the following amounts:

                                    Receiver/Z&Z Fees $92,879.20

                                                Expenses $ 1,798.69

                           Total (After 20% Holdback) $75,742.31

       WHEREAS, in its Fee Ruling, this Court granted the Third Interim Application for

Professional Fees and Expenses Incurred by the Receiver and His Professionals [Doc. No. 1330]

(the “Third Application” and, jointly with the First Application and Second Application, the

“Motions for Fees”), subject to a 20% holdback for the Receiver’s and Z&Z’s fees and subject to

a reduction with respect to time billed for travel, and authorized and allowed the following

amounts:

                                      Receiver/Z&Z Fees $39,925.45

           Mitofsky, Shapiro, Neville & Hazen, LLP Fees $ 2,555.00

                                                    Expenses $ 1,155.33

                                                     (Travel)     ($85.20)

Total (After 20% Holdback for Receiver and Z&Z Fees) $35,351.46



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       WHEREAS the Receiver submits that the funds held in the Receivership Accounts, as the

Third Application defines that term, and, specifically, sourced from the E*Trade account ending

x6818 (the “x6818 Account”) held in such Receivership Accounts, should be used to pay the

amounts sought in the Motions for Fees for payment of the Receiver’s and Z&Z’s fees and

expenses; and,

       WHEREAS the Receiver submits that the funds in the Bank of America account ending

x7632 (the “x7632 Account”), held by DIYA Real Holdings, LLC, should be used to pay the

amounts sought in the Third Application for payment of Mitofsky, Shapiro, Neville & Hazen,

LLP’s (“MSNH”) fees;

       IT IS HEREBY ORDERED that:

       1. The Receiver shall transfer $239,886.96 from the Receivership Accounts and,

          specifically, sourced from the x6818 Account held in such Receivership Accounts, to

          an account held in the name of Z&Z in partial payment of the portions of the Motions

          for Fees seeking payment of the Receiver’s fees, Z&Z’s fees, and reimbursement for

          expenses;

       2. The Receiver shall transfer $2,555.00 from the x7632 Account to an account held in

          the name of MSNH in payment of the portion of the Third Application seeking payment

          for MSNH’s fees;

       3. Pursuant to the Order Appointing Receiver [Doc. No. 1070], $59,971.74, representing

          the total amount held back from the amount sought in the Motions for Fees, may be

          paid out at the discretion of the Court as part of the final fee application submitted at

          the close of this Receivership;




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4. Pursuant to the Ruling Granting Receiver’s Motion for Authority to Employ Mitofsky,

   Shapiro, Neville & Hazen, LLP [Doc. No 1275], the $2,550.00 paid to MSNH under

   the authority of this Order shall be counted against the “interest and gains” attributable

   to Apartment 12F if that apartment is liquidated in satisfaction of the disgorgement

   portion of the judgment in this case; and,

5. The Receiver is authorized and directed to take all reasonable and appropriate actions

   necessary to effectuate the foregoing.



                         IT IS SO ORDERED THIS ____ day of __________, 2020.



                         ________________________
                         Janet Bond Arterton, U.S.D.J.




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